                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

IN RE:
                                             )
VALLEY LUMBER CO., INC.                      )   BANKRUPTCY CASE
                                             )   NO: 17-72121-CRJ
                                             )
                       DEBTOR.               )      CHAPTER 11

     OBJECTION TO CONFIRMATION OF DEBTOR’S FIRST AMENDED CHAPTER 11
              PLAN OF REORGANIZATION DATED OCTOBER 9, 2018

        Comes now the United States of America in behalf of the Internal Revenue Service
(hereafter referred to as "IRS") by and through its counsel Jay E. Town, United States Attorney
for the Northern District of Alabama, pursuant to 11 U.S.C. § 1128(b) and objects to
confirmation of the Debtor’s First Amended Chapter 11 Plan of Reorganization Dated October 9,
2018 (“Plan”) and as grounds for this objection states as follows:

1.       The Debtor filed a Chapter 11 petition on December 8, 2017.

2.     On October 25, 2018, IRS filed an amended claim in this case in the total sum of
$46,526.53. A portion of the claim is estimated because as of the date the claim was filed, the
IRS did not have evidence that the Debtor had filed a Form 941 and a Form 940 for the tax
periods ended December 31, 2016. A copy of the amended claim is attached hereto as Exhibit A.

3.   The IRS will file and process the Form 941 and a Form 940 for the tax periods ended
December 31, 2016 if the returns are submitted to the following:

Internal Revenue Service
Insolvency Staff
Attention: Janet Greco
801 Broadway M/S MDP 146
Nashville, TN 37203

Each tax return must bear the original signature of the Debtor’s representative. A copy of each
tax return should be forwarded to the undersigned counsel for the IRS.




Case 17-72121-CRJ11          Doc 233 Filed 11/06/18 Entered 11/06/18 15:04:01            Desc
                               Main Document     Page 1 of 3
4.    Once the tax return(s) have been received and processed, the IRS will be able to file an
amended claim in this case.

5.       Until the Debtor files the stated tax returns, the amount of the IRS unsecured priority
claim cannot be ascertained. The Debtor’s Plan fails to adequately provide for the payment of the
unsecured priority claim of the IRS. The Plan fails to provide an identifiable interest factor to be
applied to the secured debt. The Plan fails to provide for the correct monthly payment amount on the
unsecured priority claim. The Plan fails to provide for the correct length of time for the payout of the
secured claim (60 months from the petition date). The plan fails to comply with 11 U.S.C. §§ 1129
(a)(9)(c).

 6.     Based on the fact that the plan fails to comply with the requirements for confirmation found
at 11 U.S.C. §§ 1129(a)(9)(c), the IRS states that the plan has not been proposed in good faith.

      Wherefore, based on the foregoing, the United States of America respectfully requests this
Honorable Court for the following relief:

a.     Deny confirmation of the Debtor’s First Amended Chapter 11 Plan of Reorganization
dated October 9, 2018; and,

b.      Grant the IRS such further relief as is equitable and just.

                                                         JAY E. TOWN
                                                         United States Attorney
                                                         /s/Richard E. O’Neal
                                                         RICHARD E. O'NEAL
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Case 17-72121-CRJ11            Doc 233 Filed 11/06/18 Entered 11/06/18 15:04:01                    Desc
                                 Main Document     Page 2 of 3
                                 CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing has been served upon the following by
electronic mail or first-class United States Mail, properly addressed and postage prepaid on this
the 6th day of November 2018.

Mr. Stuart M. Maples, Esq.
Attorney for Debtor
200 Clinton Ave. West, Suite 1000
Huntsville, AL 35801

Mr. Richard Blythe
Bankruptcy Attorney
Office of the Bankruptcy Administrator
P.O. Box 3045
Decatur, Alabama 35602

                                             /s/Richard E. O’Neal
                                             RICHARD E. O'NEAL
                                             Assistant United States Attorney




Case 17-72121-CRJ11          Doc 233 Filed 11/06/18 Entered 11/06/18 15:04:01                Desc
                               Main Document     Page 3 of 3
